       Case 2:15-cv-08401-EP-JBC Document 181 Filed 10/06/22 Page 1 of 2 PageID: 2101


                                                                                                 www.moodklaw.com

NEW JERSEY OFFICE                                                                              Jonathan R. Stuckel
Cherry Tree Corporate Center                                                                      Member NJ & PA Bars
Suite 501                                                                                              (856) 406-1319
                                                                                              JStuckel@moodklaw.com
535 Route 38 East
Cherry Hill, NJ 08002
(856) 663-4300 Fax: (856) 663-4439




                                                         October 6, 2022

        Via ECF
        The Honorable James B. Clark, U.S.M.J.
        United States District Court of New Jersey
        Martin Luther King Jr. Federal Building and Courthouse
        50 Walnut Street
        Newark, NJ 07102

                           Re:       Morales v. Healthcare Revenue Recovery Group, LLC
                                     Case No. 2:15-cv-08401-ES-JAD

        Dear Judge Clark:

               My firm represents Defendant Healthcare Revenue Recovery Group, LLC in the above
        matter. Plaintiff filed a letter requesting an extension of the class certification deadline to
        November 7, 2022, and made multiple misrepresentations about Defendant’s amended discovery
        production that require further clarification. (ECF 180).

               First, Defendant fully complied with the Court’s last Order (ECF 179), which required
        Defendant to produce amended class account notes that included the “CRS” internal reference
        numbers. Nothing further was required. Nevertheless, Plaintiff raises the following
        “discrepancies” which were already addressed directly to counsel via multiple emails:

                 1. Plaintiff alleges that 60,986 accounts “did not have the associated internal reference
                    numbers.”
                       This is a misrepresentation of the data and was fully explained to counsel on
                          more than one occasion. 60,986 accounts in fact lack “CRS” numbers. The
                          “CRS” number is unique to the Defendant’s “Platinum” collection software,
                          which was decommissioned in March of 2015. Accounts created after that date
                          do not have a CRS number. Rather, those account have “FACS” software
                          internal reference numbers.


        {M0268707.1}

            Philadelphia          Pittsburgh    Westchester County   Wilmington   Towson       New York

            Pennsylvania         Pennsylvania       New York         Delaware     Maryland     New York
Case 2:15-cv-08401-EP-JBC Document 181 Filed 10/06/22 Page 2 of 2 PageID: 2102




         2. Plaintiff claims that 175 accounts share internal reference numbers.
               The undersigned asked counsel to provide examples of same and, to date,
                  nothing has been provided. Notwithstanding this, Plaintiff should be well aware
                  that IRNs are not necessarily unique to only one debtor. David Friedlander
                  previously testified for Defendant to this fact. Judge Salas also quoted this
                  testimony in her July 14, 2019 Opinion, in which She states, “[t]he IRN…could
                  pertain to ten to 20 to even 25 other people.” (ECF 122, para. 5). It is unclear
                  why Plaintiff waited over 3 years to raise this issue after Judge Salas first noted
                  it.

         3. Plaintiff correctly points out that the initial amended document production sent to
            counsel on September 13, 2022 contained 1,341 fewer accounts.
               Defendant mistakenly generated an output with an incorrect date range. This
                  was corrected on October 3, 2022, and Plaintiff now has the full and complete
                  production. Plaintiff’s letter to the Court fails to note this.

         In summary, there is no outstanding discovery issue. Defendant neither joins nor opposes
Plaintiff’s request for an extension of the motion for certification filing deadline. However,
should the Court grant this request, it is respectfully requested that the Defendant’s deadline to
file the motion for summary judgment be extended by the same amount of time. This is because
the Court’s last scheduling Order (ECF 179) contains the same deadlines for the initial motion
for class certification and summary judgment, for the opposition briefs for each motion, and for
the reply briefs for each motion.



                                               Respectfully submitted,

                                               MARKS, O’NEILL, O’BRIEN,
                                               DOHERTY & KELLY, P.C.

                                               /s/ Jonathan R. Stuckel_________
                                               Christian M. Scheuerman, Esquire
                                               Jonathan R. Stuckel, Esquire

CMS/emm
Cc: All Counsel of Record (via ECF)




{M0268707.1}
